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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


 MOJO MOBILITY INC.,

                Plaintiff,                                 Civil Action No. 2:22-CV-0398-JRG-RSP

        v.

 SAMSUNG ELECTRONICS CO., LTD.,                            JURY TRIAL
 AND SAMSUNG ELECTRONICS
 AMERICA, INC.,

                Defendants.


                          JOINT NOTICE REGARDING MEDIATION

        Plaintiff, Mojo Mobility Inc. and Defendants Samsung Electronics Co., Ltd., and Samsung

 Electronics America, Inc. hereby notify the Court that the parties mediated this matter on May 23,

 2024, before mediator Antonio Piazza. The parties were not able to resolve the matter during that

 session but anticipate continuing discussions with the mediator, including potential further

 sessions, if the parties are making meaningful progress towards resolving this matter. Thus,

 pursuant to the Second Amended Docket Control Order (Dkt. 83 at 3), the parties do not believe a

 referral for mediation is necessary at this time.




  Dated: May 30, 2024                                    Respectfully submitted,

  MCKOOL SMITH, P.C.

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                                 CERTIFICATE OF CONFERENCE

        PURSUANT TO Local Rule CV-7(i), I hereby certify that counsel for the parties have

 complied with the meet and confer requirement set forth in Local Rule CV-7(h) and this stipulation

 is filed joint and unopposed.



                                                      /s/ Steven J. Pollinger
                                                     Steven J. Pollinger




                                   CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document has been

 served on all counsel of record via ECF on May 30, 2024.



                                                      /s/ Steven J. Pollinger
                                                     Steven J. Pollinger




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